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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                         :
                                                :           CHAPTER 7
 QUALITY AIRCRAFT TOOLING INC                   :
                                                :           CASE NO. 23-61841-JWC
              Debtor.                           :
                                                :

                         NOTICE OF ABANDONMENT OF CERTAIN
                              PROPERTY OF THE ESTATE

          PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 554(a) and Federal Rules of

Bankruptcy Procedure Rule 6007, Michael J. Bargar, Chapter 7 Trustee (“Trustee”) for the above-

captioned estate, proposes to abandon the following described property as burdensome, fully

exempt with no equity, fully encumbered and/or of inconsequential value and benefit to Debtor’s

estate:

                            All tangible assets of the Debtor located at
                        1048 King Industrial DR, Marietta, Georgia 30062

          PLEASE TAKE FURTHER NOTICE that any objections to this proposed abandonment

must be filed with the Clerk of the United States Bankruptcy Court, 1340 U.S. Courthouse, 75 Ted

Turner Drive, SW, Atlanta, GA 30303 and served upon the Trustee at the address shown below

within fourteen (14) days from the date of service of this Notice. If no objection is filed, the

proposed abandonment shall be effective as provided in Rule 6007 of the Federal Rules of

Bankruptcy Procedure without further notice, hearing, or order of the Court. If an objection is

timely filed, a hearing thereon will be scheduled with notice provided to the objecting party or

parties, Trustee, the United States Trustee, Debtor, and counsel to the Debtor.
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      This 5th day of March, 2024.


                                                 /s/ Michael J. Bargar
Century Plaza I                                  Michael J. Bargar
2987 Clairmont Rd, Ste 350                       Georgia Bar No. 645709
Atlanta, GA 30329                                Chapter 7 Trustee
(404) 410-1220                                   mbargar@rlkglaw.com
